                   Exhibit 1
Case 2:23-cv-00071-TRM-JEM Document 226-3 Filed 06/17/24 Page 1 of 5 PageID #:
                                   5301
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                              GREENEVILLE DIVISION

 B.P., et al.,

                 Plaintiffs,

 v.                                                    No: 2:23-cv-00071-TRM-JEM



 CITY OF JOHNSON CITY, TENNESSEE, et al.,

             Defendants.
 __________________________________/

  PLAINTIFFS’ SUR-REPLY TO DEFENDANT PETERS’ REPLY IN SUPPORT OF HIS
               SUPPLEMENTAL MOTION FOR ATTORNEYS’ FEES

         COME NOW Plaintiffs B.P., H.A., and S.H., individually and as proposed class

 representatives of all others similarly situated, (“Plaintiffs”), through their undersigned counsel,

 to submit this sur-reply to Defendant Peters’ reply in support of his supplemental motion for

 attorneys’ fees. Defendant Peters’ reply attaches, and relies upon, a document produced by B.P.

 that was not referenced in his motion or in Plaintiff’s opposition. This sur-reply seeks only to

 explain the provenance of that document.

         Peters’ reply attaches a series of text messages that were produced after B.P.’s deposition.

 While Plaintiffs regret this timing, the delay was despite good faith efforts and did not result in

 prejudice to Defendant Peters. On May 21, 2024, Plaintiffs learned from their ESI vendor that

 additional, potentially relevant data was identified on B.P.’s device, due to a search criteria error

 in the data pull. Baehr-Jones Decl. ¶ 4; Kramer Decl. ¶ 3. Plaintiffs’ counsel had three straight

 days of depositions in this matter, and as soon thereafter as feasible, reviewed that data and

 produced responsive, non-privileged documents, including the attachment to Peters’ reply.



                                                   1

Case 2:23-cv-00071-TRM-JEM Document 226-3 Filed 06/17/24 Page 2 of 5 PageID #:
                                   5302
 Kramer Decl. ¶ 4. Plaintiffs’ counsel Ms. Baehr-Jones coordinated with B.P. at the outset of the

 litigation (and on additional occasions as the case progressed) to search for and collect

 documents. Baehr-Jones Decl. ¶ 5. Those efforts should have, but did not, identify the text

 message at issue. Id. This was a mistake, but nothing more. Based on assurances from their ESI

 vendor, Plaintiffs believe that all responsive, non-privileged documents from B.P. have been

 produced. Id. As always, and as was done in this circumstance, if counsel become aware of

 documents that should be produced, they will do so promptly.

        Importantly, the timing of Plaintiffs’ production of text messages did not prejudice

 Peters. The Court already denied Peters’ request during the May 21, 2024 hearing to keep B.P.’s

 deposition open pending additional document production. If Peters believes the later-produced

 documents warrant re-opening the deposition, he may make that motion, and Plaintiffs will

 respond in due course.

        In conclusion, Defendant Peters’ supplemental motion for attorneys’ fees should be

 denied for the aforementioned reasons.




 Dated this June 17, 2024.                  Respectfully submitted,

                                            /s/ Elizabeth A. Kramer
                                            Julie C. Erickson (California Bar # 293111)
                                            Elizabeth A. Kramer (California Bar # 293129)
                                            Kevin M. Osborne (California Bar #261367)
                                            Pro Hac Vice
                                            Erickson Kramer Osborne LLP
                                            44 Tehama St.
                                            San Francisco, CA 94105
                                            415-635-0631
                                            julie@eko.law
                                            elizabeth@eko.law
                                            kevin@eko.law



                                                  2

Case 2:23-cv-00071-TRM-JEM Document 226-3 Filed 06/17/24 Page 3 of 5 PageID #:
                                   5303
                                  Advocates for Survivors of Abuse PC

                                  /s/ Vanessa Baehr-Jones
                                  Vanessa Baehr-Jones CABN # 281715
                                  Pro Hac Vice
                                  Advocates for Survivors of Abuse PC
                                  4200 Park Boulevard No. 413
                                  Oakland, CA 94602
                                  (510) 500-9634
                                  vanessa@advocatesforsurvivors.com

                                  HMC Civil Rights Law, PLLC

                                  /s/ Heather Moore Collins
                                  Heather Moore Collins (# 026099)
                                  Ashley Shoemaker Walter (#037651)
                                  7000 Executive Center Dr., Suite 320
                                  Brentwood, TN 37027
                                  615-724-1996
                                  615-691-7019 FAX
                                  heather@hmccivilrights.com
                                  ashley@hmccivilrights.com

                                  Attorneys for Plaintiffs and Proposed Class




                                       3

Case 2:23-cv-00071-TRM-JEM Document 226-3 Filed 06/17/24 Page 4 of 5 PageID #:
                                   5304
                                 CERTIFICATE OF SERVICE

         I HEREBY certify that a copy of the foregoing has been filed and served via the court’s
 electronic filing system on June 17, 2024 to counsel of record:

   K. Erickson Herrin                                  Daniel H. Rader III
   HERRIN, McPEAK & ASSOCIATES                         Daniel H. Rader IV
   515 East Unaka Avenue                               MOORE, RADER & YORK PC
   P. O. Box 629                                       46 N. Jefferson Avenue
   Johnson City, TN 37605-0629                         P.O. Box 3347
   lisa@hbm-lawfirm.com                                Cookeville, TN 38502-3347
   sandy@hbm-lawfirm.com                               danrader@moorerader.com
                                                       danny@moorerader.com
   Emily C. Taylor                                     andre@moorerader.com
   Maria Ashburn
   WATSON, ROACH, BATSON &                             Counsel for Kevin Peters in his individual
   LAUDERBACK, P.L.C.                                  capacity
   P.O. Box 131
   Knoxville, TN 37901-0131                            Kristin Ellis Berexa
   etaylor@watsonroach.com                             Ben C. Allen
   mashburn@watsonroach.com                            FARRAR BATES BEREXA
                                                       12 Cadillac Drive, Suite 480
   Attorneys to Defendants, Johnson City,              Brentwood, TN 37027-5366
   Tennessee, Karl Turner, in his individual and       kberexa@fbb.law
   official capacities, Captain Kevin Peters, in       ballen@fbb.law
   his official capacity, and Investigator Toma        jdowd@fbb.law
   Sparks, in his official capacity
                                                       Counsel for Toma Sparks in his individual
   Jonathan P. Lakey                                   capacity
   Burch, Porter, & Johnson, PLLC
   130 N. Court Ave.                                   Keith H. Grant
   Memphis, TN 38103                                   Laura Beth Rufolo
   901-524-5000                                        Robinson, Smith & Wells, PLLC
   jlakey@bpjlaw.com                                   633 Chestnut Street, Suite 700
   mchrisman@bpjlaw.com                                Chattanooga, TN 37450
                                                       kgrant@rswlaw.com
   Attorney to Defendant City of Johnson City,         lrufolo@rswlaw.com
   Tennessee                                           awells@rswlaw.com

                                                       Counsel for Justin Jenkins in his individual
                                                       capacity, Jeff Legault in his individual
                                                       capacity and Brady Higgins in his individual
                                                       capacity

                                             /s/ Elizabeth A. Kramer
                                             Elizabeth A. Kramer

                                                   4

Case 2:23-cv-00071-TRM-JEM Document 226-3 Filed 06/17/24 Page 5 of 5 PageID #:
                                   5305
